          Case 22-33553 Document             Filed in TXSB on 11/14/23 Page 1 of 1
                                                                                      United States Bankruptcy Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
UNITED STATES BANKRUPTCY COURT                                SOUTHERN DISTRICT November
                                                                                OF TEXAS14, 2023
                                                                                          Nathan Ochsner, Clerk

                 Motion and Order for Admission Pro Hac Vice

 Division             Houston               Main Case Number                  22-60043
                 Debtor                     In Re:          Free Speech Systems LLC


          Lawyer’s Name                Vida Robinson
               Firm                    Paul, Weiss, Rifkind, Wharton & Garrison LLP
               Street                  1285 Avenue of the Americas
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      Federal Bar & Number             NY 6057673



 Name of party applicant seeks to                        Connecticut Plaintiffs*
 appear for:                                         creditors and parties-in-interest


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


            11/9/2023                                      /s/ Vida Robinson
 Dated:                      Signed:


 The state bar reports that the applicant’s status is: Currently Registered


 Dated:
            11/14/2023
                             Clerk’s signature:   /s/ Z. Compean

              Order
                                               This lawyer is admitted pro hac vice.

Dated:      August 02,
            November 14,2019
                         2023
                                                       United States Bankruptcy Judge


* Mark Barden, Jacqueline Barden, Francine Wheeler, David Wheeler, Ian Hockley, Nicole Hockley,
Jennifer Hensel, William Aldenberg, William Sherlach, Carlos M. Soto, Donna Soto, Jillian Soto-Marino,
Carlee Soto Parisi, and Robert Parker (collectively, the “Connecticut Plaintiffs”).
